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                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                    CRIMINAL MINUTES

Date: September 21, 2020             Time: 12:10pm – 1:00pm        Judge: William Alsup
Case No.: 18-cr-00278-WHA-1          Case Name: United States v. Emmanuel Gonzalez Sanchez

Attorney for Government: Tom Colhurst
Attorney for Defendant: Edward Swanson; Audrey Barron
Defendant: [X] Present [ ] Not Present
Defendant's Custodial Status: [ ] In Custody [X] Not in Custody

Deputy Clerk: Angela DiIenno                          Court Reporter: Debra Pas
Interpreter: Wendy Maestracci                         Probation Officer: Shonte Brittle


                                       PROCEEDINGS

   1. Sentencing -- Held


                                          SUMMARY

Defendant is committed to the Bureau of Prisons for a term of 8 days with credit for time served
on three counts charged in the Superseding Indictment. All terms to be served concurrently.
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3
years as to Counts 1 and 2; 5 years as to Count 3. All terms to run concurrently with each other.
A special assessment fee of $300 is imposed. Fine waived.
See Judgment for special conditions.

CASE CONTINUED TO: December 22, 2020, at 12:00 PM, for Progress Report
